(Official Form 1) (42/03)

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FORM B1

Dunas

District of

United States Bankruptcy Court

Voluntary Petition

 

 

Jame of Debtor (if individual, egter Last, First, Middle):
| Leds Angi el fa

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by thé Debtor bw the last 6 years
(include married, maiden, and trade names):

All Other Names used by the Joint Deltor in the last 6 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.

No. (ifmore than one, state all): (YSar¥

Last four digits of Soc. Sec.No./Complete EIN or other Tax I.D. No.

(if more than one, state all):

 

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Street Address of 0) tor (No. & Street. Ci apes
LAD > Ah or

( 3
YX

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):

 

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VA c (Le. WV

County of Residence or of the
Principal Place of Business:

 

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from s street So
UDU>  DYS ee St

Mailing Address of Joint Debtor (if diferent from street address):

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

OAL

 

Venue (Check any applicable box)

Information Regarding the Debtor (Check the Applicable Boxes)

[-] Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
CO There isa bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 

Type of Debtor (Check all boxes that apply)

[] Railroad

(_] Stockbroker

C] Commodity Broker
([] Clearing Bank

Individual(s)
Corporation
O Partnership

C] Other

Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box)
[_] Chapter 7 [_] Chapter 11

[-] Chapter 9 [-] Chapter 12
[] Sec. 304 - Case ancillary to foreign proceeding

Chapter 13

 

Nature of Debts (Check one box)
Consumer/Non-Business [_] Business

 

Filing Fee (Check one 20x)
[_] Full Filing Fee attached

 

Chapter 11 Small Business (Check all boxes that apply)

[] Debtor is a small business as defined in 11 U.S.C. § 101

[] Debtor is and elects to be considered a small business under
th US.C. § 112 h(c} (Optional)

LL] Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration
certifying that the debtor is unable to pay fee except in installments.
Rule 1006(b). See Official Form No. 3.

 

 

Statistical/Administrative Information (Estimates only)

be no funds available for distribution to unsecured creditors.

[_] Debtor estimates that funds will be available for distribution to unsecured creditors.

[_] Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will

THIS SPACE IS FOR COURT USE ONLY

 

 

 

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Estimated Number of Creditors if o oO ‘O ‘O. oO!
Estimated Assets
$0 to $50.001 to $100,001 to $500.00} to $1,000,001 to $10,000,001 to $50,000.00] to More than
‘* $100,000 $500.000 $1 million $10 million $50 million $100 million $100 million
Estimated Debts
$0 to $50,001 to $100,001 to $500.001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $500,000 $1 million $L0 million $50 million $100 million — $100 million

 

L) C O

 

 

 
(Official Form 1) (12/03)

FORM B1, Page 2

 

Voluntary Petiticn
(This page must be completed and filed in every case)

e of Debtor(s):

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Prior Bankruptcy Case Filed Within Last 6 Years (If méye than one, attach additional st eet)

 

 

 

 

Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than cne, attach additional sheet)
Name of Debtor: Case Number: Date F led:
District: Relationship: Judge:
Signatures
Exhibit A

Signature(s) of Debtor(s) (Individual/Joint)
| declare under penalty of perjury that the information provided in this
petition is true and correct.
[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7} | am aware that | may proceed
under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed
under chapter 7.
! request relief in accordance with the chapter of title 11, United States

Code, spédified in this petition. a -
«(Anges wet Hid bs

Signature of Debtor

X
Signature of Joint Debtor
Cott 15-673

eer Number (If_not represented by attorney)

Date

 

 

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(To be completed if debtor is required to file periodic reports

(e.g., forms 10K and 10Q) with the Securities and Exchange

Commission pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 and is requestinc relief under chapter 11)

(1 Exhibit A is attached and made a part of this petition.

 

Exhibit B
(To be completed if debtor is an individual
whose debts are primarily consumer debts)
|, the attorney for the petitioner named in the foregoing petition, declare
that | have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter.

X

 

Signature of Attorney for Debtor(s) Date

 

Exhibit C
Does the debtor own or have possession of any property that poses
or is alleged to pose a threat of imminent and identifiable harm to

public health or safety?

 

Signature of Attorney

X

(1 Yes, and Exhibit C is attached and made a part of this petition.
O No

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

 

Telephone Number

 

Date

Signature of Non-Attorney Petition Preparer

| certify that | am a bankruptcy petition preparer as defined in 14 U.S.C.
§ 110, that | prepared this document for compensation, and that | have
provided the debtor with a copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Social Security Number (Required by * 1 U.S.C.§ 110(c).)

 

Address

 

 

Signature of Debtor (Corporation/Partnership)
| deciare under penalty of perjury that the information provided in this
petition is true and correct, and that | have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

Xx

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

Names and Social Security numbers cf all other individuals who
prepared or assisted in preparing this document:

If more than one person prepared this document, attach
additional sheets conforming to the appropriate official form for
each person.

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n Preparer
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Date

A bankruptcy petition preparer’s failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 
UNITED STATES DISTRICT COURT
WESTERN IDISTRICT OF TEXAS
DIVISION

IN RE:

V5-OLOLO

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VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verifies that the attached list of

creditors 1s true and correct to the best of our knowledge.

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Debtor ( °

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Joint Debtor (if applicable)

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